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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 M. H.
 a minor child, by and through his
 mother and legal guardian, et al.,
     Plaintiffs,
          v.                                  CIVIL ACTION FILE
                                              NO. 1:15-CV-1427-TWT
 CLYDE L. REESE, III
 in his official capacity as
 Commissioner of the Department of
 Community Health,
     Defendant.


                               OPINION AND ORDER

         This is an action for injunctive and declaratory relief in which the Plaintiffs

claim that the Defendant is violating their rights under the Medicaid Act. It is before

the Court on the Defendant’s Motion to Dismiss or, in the Alternative, Motion for

Judgment on the Pleadings [Doc. 14]. For the reasons set forth below, the Defendant’s

Motion is GRANTED in PART and DENIED in PART.




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                                      I. Background

         The Plaintiffs in this case are children who receive Medicaid-funded nursing

services through Georgia’s Department of Community Health (“DCH”).1 Under the

Early and Periodic Screening, Diagnostic, and Treatment (“EPSDT”) provisions of the

Medicaid Act,2 Georgia is required to provide eligible children with “medically

necessary” health care services.3 “Medically necessary” means all services or

treatments provided by the Medicaid Act that will “correct or ameliorate” any physical

and mental illnesses and conditions discovered during a screen.4 One such service is

private duty nursing care.5 DCH created the Georgia Pediatric Program (“GAPP”) “as

its service-delivery model for providing nursing care in the home . . . .”6 The private

duty nursing services are provided by an in-home skilled nurse and operate under the

direction of the recipient’s physician.7 However, DCH has delegated to the Georgia

Medical Care Foundation, Inc. (“GMCF”) the duty of determining whether to grant

         1
                  Compl. ¶ 3.
         2
                  42 U.S.C. §§ 1396a(a)(43), 1396d(r).
         3
                  Compl. ¶ 5.
         4
                  42 U.S.C. § 1396d(r)(5).
         5
                  Compl. ¶ 134.
         6
                  Id. ¶ 60.
         7
                  Id. ¶¶ 61, 63.
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requests for additional private duty nursing care hours that are made by the recipient’s

physician.8 When determining whether to grant a request for private duty nursing

services, GMCF must adhere to the medically necessary standard noted above and,

additionally, must consider the treating physician’s opinion of what is medically

necessary for his or her patient.9

         The Plaintiffs contend that they have been denied sufficient hours of private

duty nursing services because the Defendant has not approved their requests for

private duty nursing services based on physician recommendations. Specifically, M.H.

received a letter on April 1, 2015, notifying him that his private duty nursing hours

were being placed on a “weaning schedule,” which will incrementally reduce his

nursing services from 18 hours per day to 12 hours per day over an 8 week period.10

M.H.’s treating physician, however, recommends that he receive 18 hours per day of

nursing care.11 S.R.’s physician has requested three times since September 2014 that



         8
                  Id. ¶ 63.
         9
               Moore ex rel. Moore v. Reese, 637 F.3d 1220, 1255 (11th Cir. 2011)
(holding that “[a] state may adopt a definition of medical necessity that places limits
on a physician’s discretion,” but “[b]oth the treating physician and the state have roles
to play . . . and ‘a private physician’s word on medical necessity is not dispositive’”
(quoting Moore v. Medows, 324 Fed. App’x 773, 774 (11th Cir. 2009))).
         10
                  Compl. ¶ 2.
         11
                  Id.
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she receive 112 hours per week of nursing care.12 But all three requests were denied,

and S.R. currently has only been approved for 84 hours per week.13

         Based on these purportedly improper denials of private duty nursing services

and other health care services, the Plaintiffs allege violations of the Medicaid Act’s

EPSDT provisions and of their rights under the Fourteenth Amendment. However,

this is not the first time that the Plaintiffs have alleged violations by the Defendant.

In 2008, M.H., who was later joined by S.R., brought a very similar complaint against

DCH and its Commissioner.14 In that case, this Court granted the Defendant’s motion

for summary judgment on every ground except the issue of whether DCH provided

all medically necessary nursing hours.15 After this Court’s Order, the Defendant

agreed to an offer of judgment with S.R., in which DCH agreed to be permanently

enjoined from reducing S.R.’s hours of skilled nursing below 60 hours per week for

one year.16 Afer the 12 month period ended, GAPP would review S.R.’s condition on

an annual basis to determine the number of medically necessary private duty nursing


         12
                  Id. ¶ 4.
         13
                  Id.
         14
                  Def.’s Mot. to Dismiss, Ex. B.
         15
            Hunter ex rel. Lynah v. Cook, No. 1:08-CV-2930-TWT, 2013 WL
2252917, at *7 (N.D. Ga. May 22, 2013).
         16
                  Def.’s Mot. to Dismiss, Ex. E, at 2.
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hours for her condition.17 M.H. decided to go to trial. At trial, this Court enjoined

DCH from reducing M.H.’s skilled nursing hours below 18 hours per day for 180

days.18 The Defendant appealed the decision to the Court of Appeals for the Eleventh

Circuit, but the Eleventh Circuit ruled that the action was moot because the 180 day

injunction had expired.19

         The Plaintiffs filed this Complaint on April 29, 2015, seeking declaratory and

injunctive relief under 42 U.S.C. § 1983. On July 10, 2015, the Defendant filed a

Motion to Dismiss, arguing that the Plaintiffs’ allegations are barred by res judicata.

The Defendant also contends that the Plaintiffs have failed to sufficiently articulate

their claims.




         17
                  Id. at 2, 3.
         18
             Hunter ex rel. Lynah v. Cook, 1:08-CV-2930-TWT, 2013 WL 5429430,
at *14 (N.D. Ga. Sept. 27, 2013).
         19
                  Def.’s Mot. to Dismiss, Ex. G, at 7.
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                                     II. Legal Standard

         A complaint should be dismissed under Rule 12(b)(6) only where it appears that

the facts alleged fail to state a “plausible” claim for relief.20 A complaint may survive

a motion to dismiss for failure to state a claim, however, even if it is “improbable” that

a plaintiff would be able to prove those facts; even if the possibility of recovery is

extremely “remote and unlikely.”21 In ruling on a motion to dismiss, the court must

accept the facts pleaded in the complaint as true and construe them in the light most

favorable to the plaintiff.22 Generally, notice pleading is all that is required for a valid

complaint.23 Under notice pleading, the plaintiff need only give the defendant fair

notice of the plaintiff’s claim and the grounds upon which it rests.24




         20
                  Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009); FED. R. CIV. P. 12(b)(6).
         21
                  Bell Atlantic v. Twombly, 550 U.S. 544, 556 (2007).
         22
             See Quality Foods de Centro America, S.A. v. Latin American
Agribusiness Dev. Corp., S.A., 711 F.2d 989, 994-95 (11th Cir. 1983); see also
Sanjuan v. American Bd. of Psychiatry and Neurology, Inc., 40 F.3d 247, 251 (7th
Cir. 1994) (noting that at the pleading stage, the plaintiff “receives the benefit of
imagination”).
         23
              See Lombard’s, Inc. v. Prince Mfg., Inc., 753 F.2d 974, 975 (11th Cir.
1985), cert. denied, 474 U.S. 1082 (1986).
         24
              See Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citing Twombly, 127
S. Ct. at 1964).
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                                        III. Discussion

         A.       The Defendant’s Motion to Dismiss

         In Counts I, II, and III, the Plaintiffs contend that DCH violated the EPSDT

provisions of the Medicaid Act by denying them “medically necessary health care

services – including private duty nursing services, personal care services, and case

management services.”25 The Defendant argues that these claims are identical to the

claims in the 2008 action and, therefore, should be barred by res judicata.26 The

doctrine of res judicata “precludes the parties or their privies from relitigating issues

that were or could have been raised in [a previous] action.”27 Res judicata is

appropriate when the original decision (1) constituted a final judgment on the merits,

(2) was rendered by a court of competent jurisdiction, (3) involved identical parties,

and (4) dealt with the same claims.28 Here, the parties do not disagree that the first,



         25
                  Pls.’ Resp. to Mot. to Dismiss, at 1.
         26
              The Defendant also argues for the first time in his reply brief that the
Plaintiffs’ claims are barred by collateral estoppel. However, “[a]s a general rule,
federal courts do not consider arguments that are presented for the first time in a reply
brief.” Rindfleisch v. Gentiva Health Servs., Inc., 22 F. Supp. 3d 1295, 1301 (N.D.
Ga. 2014) (citing Herring v. Secretary, Dep’t of Corrections, 397 F.3d 1338, 1342
(11th Cir. 2005)).
         27
                  Olmstead v. Amoco Oil Co., 725 F.2d 627, 631-32 (11th Cir. 1984).
         28
                  I.A. Durbin, Inc. v. Jefferson Nat’l Bank, 793 F.2d 1541, 1549 (11th Cir.
1986).
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second, and third elements of res judicata are met for all of the Plaintiffs’ claims. The

issue is whether the fourth element is satisfied.

         With regard to the Plaintiffs’ claims that the Defendant unlawfully denied their

requests for medically necessary private duty nursing services, there is no identity

between the claims. “It is now said, in general, that if a case arises out the same

nucleus of operative fact, or is based upon the same factual predicate, as a former

action, that the two cases are really the same ‘claim’ or ‘cause of action’ for purposes

of res judicata.”29 However, “[r]es judicata does not apply where the facts giving rise

to the second case only ‘arise after the original pleading is filed in the earlier

litigation.’”30 In the Plaintiffs’ present cause of action, they allege improper denials

that occurred between 2014 and 2015; the previous action involved denials that

occurred prior to 2013. Thus, the nucleus of operative facts giving rise to the

Plaintiffs’ present claims arose after the previous action.

         In response, the Defendant contends that, with respect to M.H., his claim is

barred by res judicata because his condition has not changed since the 2013 permanent

injunction expired. This Court disagrees. To be sure, the Eleventh Circuit did hold in


         29
            In re Piper Aircraft Corp., 244 F.3d 1289, 1297 (11th Cir. 2001) (quoting
Ragsdale v. Rubbermaid, Inc., 193 F.3d 1235, 1239 (11th Cir. 1999)).
         30
             Id. at 1298 (quoting Manning v. City of Auburn, 953 F.2d 1355, 1360
(11th Cir. 1992)).
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Moore ex rel. Moore v. Reese that DCH may reduce a recipient’s private duty nursing

hours if the recipient’s condition is chronically stable.31 But that does not mean DCH’s

decision to place M.H.’s private duty nursing hours on a weaning schedule is based

on the exact same facts as the claims in the 2008 action. Moreover, the stability of the

recipient is just one factor among several factors that GMCF considers when deciding

whether additional private duty nursing hours are medically necessary.32 Thus, M.H.’s

claim that the Defendant wrongfully denied him medically necessary private duty

nursing services is not barred by res judicata. The Defendant’s Motion to Dismiss is

denied in this respect.

         For S.R.’s claim that she was denied medically necessary private duty nursing

services, the Defendant argues that the 2013 offer of judgment acts as res judicata to

her current action. Specifically, he contends that the offer was “permanent and only

limited by the consumer’s ongoing eligibility for EPSDT services, the subject of the

earlier suit and this lawsuit.”33 S.R.’s offer of judgment did permanently enjoin the


         31
             See 637 F.3d 1220, 1258 (11th Cir. 2011) (holding that DCH may
consider the stability of the recipient’s condition when determining the medical
necessity of a service).
         32
              Id. at 1240-41 (listing the criteria that the GMCF Medical Review Team
uses when determining the number of nursing hours that are medically necessary for
a recipient).
         33
                  Def.’s Reply Br. in Supp. of Mot. to Dismiss, at 3.
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Defendant from reducing her private duty nursing hours below 60 hours per week for

one year.34 But this injunction expired on July 2, 2014.35 After the expiration of the 12

month period, the Defendant was supposed to review S.R.’s condition on an annual

basis and any requests for additional services were to be expedited through GAPP.36

S.R.’s claims in this action are all based on purportedly improper denials that occurred

after July 2, 2014. The offer of judgment, therefore, does not prevent S.R. from

challenging whether the Defendant’s recent denials are in accordance with the

medically necessary standard. Thus, S.R.’s claim regarding her requests for additional

private duty nursing care hours is not barred by res judicata. The Defendant’s Motion

to Dismiss is denied in this respect.

         Next, regarding the Plaintiffs’ claim that the Defendant fails to provide personal

care services, res judicata does not bar their claim. In its 2013 Order, this Court

granted summary judgment to the Defendant on the issue of whether DCH denied

personal care services.37 It noted that “the Plaintiffs’ evidence does not indicate that




         34
                  Def.’s Mot. to Dismiss, Ex. E, at 2.
         35
                  Pls.’ Resp. to Mot. to Dismiss, at 8.
         36
                  Def.’s Mot. to Dismiss, Ex. E, at 2, 3.
         37
            Hunter ex rel. Lynah v. Cook, No. 1:08-CV-2930-TWT, 2013 WL
2252917, at *1 (N.D. Ga. May 22, 2013).
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any Plaintiff was personally deprived of . . . personal care services . . . .”38 In the

present Complaint, the Plaintiffs claim, once again, that DCH fails to provide

medically necessary personal care services. However, M.H. explicitly alleges a

deprivation of personal care services: he asserts that his physician has prescribed,

based on medical necessity, six hours per day of personal care services, but that DCH

has unlawfully denied him personal care services.39 Thus, the current claim is based

on a new set of facts and, therefore, is not barred by res judicata. The Defendant’s

Motion to Dismiss is denied in this respect.

         With respect to the Plaintiffs’ claim that DCH fails to provide case management

services, their claim is barred by res judicata. Like the personal care services claim,

this Court granted summary judgment to the Defendant on the issue of whether DCH

denied case management services.40 In the present action, the Plaintiffs, once again,

allege that DCH fails to provide case management services.41 However, neither of the

Plaintiffs specifically alleges new facts with regard to whether DCH provides case

management services. They merely allege that both M.H. and S.R. require “case



         38
                  Id.
         39
                  Compl. ¶¶ 2, 39, 110.
         40
                  Hunter, 2013 WL 2252917, at *1.
         41
                  Compl. ¶¶ 156, 160.
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management services to help manage and coordinate the care of [their] many complex

conditions,”42 and that DCH must provide the service if it is medically necessary.43

Thus, since the Plaintiffs’ current claim is identical to their claim in the 2008 action,

their claim should be barred by res judicata. The Defendant’s Motion to Dismiss is

granted in this respect.

         In Counts II and IV, the Plaintiffs allege that DCH violates the Medicaid Act

and due process by failing to provide them with adequate notice of its decisions to

deny or reduce benefits. The Defendant argues, like in the previous claims, that this

claim is barred by res judicata. In this Court’s 2013 Order, it granted summary

judgment to the Defendant on the issue of whether DCH provided adequate notice to

the Plaintiffs.44 It noted that “[t]he Plaintiffs provide no case law explaining how the

boilerplate language violates their due process rights.”45 Here, despite the Plaintiffs’

contention that “the notices issued by GMCF have changed over the intervening time

period,”46 they fail to state how these notices have in anyway changed since the 2008



         42
                  Id. ¶¶ 1, 3.
         43
                  Id. ¶ 154.
         44
                  Hunter, 2013 WL 2252917, at *7.
         45
                  Id.
         46
                  Pls.’ Resp. to Mot. to Dismiss, at 7.
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action. Indeed, in the present Complaint, they again allege that GMCF uses boilerplate

language in its notices and then list alleged errors contained in the Plaintiffs’ notices.47

But these are not operative facts that would differentiate this claim from the previous

claim. Thus, the Plaintiffs’ claim regarding whether the Defendant provides adequate

notices should be barred by res judicata. The Defendant’s Motion to Dismiss is

granted in this respect.

         Finally, the Defendant contends that the Plaintiffs have neither sufficiently

articulated nor adequately supported their claims.48 Specifically, the Defendant

appears to argue that the Plaintiffs’ Complaint is a form of “shotgun pleading.” “The

typical shotgun complaint contains several counts, each one incorporating by

reference the allegations of its predecessors, leading to a situation where most of the

counts (i.e., all but the first) contain irrelevant factual allegations and legal

conclusions.”49 The Eleventh Circuit has repeatedly condemned shotgun pleadings,




         47
                  Compl. ¶¶ 97-108.
         48
                  Def.’s Mot. to Dismiss, at 11.
         49
            Strategic Income Fund, LLC v. Spear, Leeds & Kellogg Corp., 305 F.3d
1293, 1295 (11th Cir. 2002).
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noting that “[s]uch pleadings divert already stretched judicial resources into disputes

that are not structurally prepared to use those resources efficiently.”50

         While the Plaintiffs do make the common mistake of incorporating each

preceding count into the next count,51 “this is not a situation where a failure to more

precisely parcel out and identify facts relevant to each claim materially increased the

burden of understanding the factual allegations underlying each count.”52 In the

Complaint, the Plaintiffs have eased the burden of parsing out facts by organizing the

factual allegations into subsections that correspond to particular counts. For example,

in Counts II and IV, the Plaintiffs assert that the Defendant violated the Medicaid Act

and due process by failing to provide them with adequate notice. The corresponding

subsections are titled “Lack of Adequate Notice” and “Due Process Requirements.”

Additionally, as the Defendant notes throughout his briefs, the Plaintiffs’ Complaint

is very similar to their previous complaint in the 2008 action. DCH did not contend

in that action that it had any difficulty understanding the allegations against it. This

all may account for why the Defendant chose not to move for a more definite


         50
                  Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273, 1279 (11th Cir.
2006).
         51
                  Compl. ¶¶ 175, 183, 188, 190.
         52
                  Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1324 (11th
Cir. 2015).
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statement under Federal Rule of Civil Procedure 12(e) prior to filing this Motion to

Dismiss. In sum, this is not a situation where the claims are so poorly pleaded to

warrant dismissal under Federal Rules of Civil Procedure 8(a) and 10(b).53 The

Defendant’s Motion to Dismiss is denied in this respect.

         B.       The Defendant’s Motion for Judgment on the Pleadings

         Pursuant to Rule 12(c) of the Federal Rules of Civil Procedure, a party may file

a motion for judgment on the pleadings only after the pleadings have closed. Rule 7(a)

provides that allowable pleadings include a complaint and an answer. Accordingly,

“[a] motion for judgment on the pleadings may not be filed before the answer.”54 Here,

the Defendant has not filed an answer. Thus, the Defendant’s Motion for Judgment

on the Pleadings is denied.




         53
             Id. at 1325 (“A dismissal under Rules 8(a)(2) and 10(b) is appropriate
where ‘it is virtually impossible to know which allegations of fact are intended to
support which claim(s) for relief.’” (quoting Anderson v. District Bd. of Trustees of
Cent. Fla. Cmty. Coll., 77 F.3d 364, 366 (11th Cir. 1996))).
         54
              Geltman v. Verity, 716 F. Supp. 491, 492 (D. Colo. 1989); see also
Poliquin v. Heckler, 597 F. Supp. 1004, 1006 (D. Me. 1984) (“[T]he pleadings are not
closed until after the defendant filed an answer...”); Stands Over Bull v. Bureau of
Indian Affairs, 442 F. Supp. 360, 367 (D. Mont. 1977) (“When a defendant has failed
to file an answer, a motion for judgment on the pleadings is not the correct procedural
remedy.”).
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                                                IV. Conclusion

         For the reasons set forth above, the Defendant’s Motion to Dismiss [Doc.

14] is GRANTED in PART and DENIED in PART.

         SO ORDERED, this 16 day of November, 2015.



                                  /s/Thomas W. Thrash
                                  THOMAS W. THRASH, JR.
                                  United States District Judge




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